Case 7:20-cr-00545-PMH Document 119 Filed 11/02/21 Page 1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

- x
UNITED STATES OF AMERICA, CONSENT TO PROCEED BY VIDEO OR
TELE CONFERENCE
-against-
20-CR-545 (PMH)
Marise Hamilton
Defendant(s}.
ve x

 

Defendant Marise Hamilton hereby voluntarily consents to participate in the following
proceeding via_x___ videoconferencing or __x_ teleconferencing:

initial Appearance Before a Judicial Officer

Arraignment (Note: If on Felony Information, Defendant Must Sign Separate Waiver of
Indictment Form)

Bail/Detention Hearing

x Conference Before a U.S. District Judge

Marsetiniles., CF LOC

Defendant's Signature Defendant’s Counsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

Marise Hamilton Daniel A. Hochheiser

This proceeding was conducted by reliable video or “Oe, conferencing technology.
\

November 2, 2021
Date U.S. District Judge

 
